    Case 1:20-cr-00062-H-BU Document 28 Filed 09/25/20            Page 1 of 1 PageID 46



                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  ABILENE DTVISION

TINITED STATES OF AMERICA,
   Plaintiff,

                                                           NO. 1:20-CR-062-01-H

JUSTIN ANDREW WICHNER (1),
     Defendant.


               ORDER ACCEPTING REPORT AND R"ECOMMEI\DATION
                  OF TIIE UNITED STATES MAGISTRATE JUDGE
                         CONCERNING PLEA OF GUILTY

         After reviewing all relevant maffers of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

Conceming Plea of Guilty of the United States Magistrate Judge, and no objections theleto

having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

$   636(bxl), the undersigned District Judge is ofthe opinion that the Report and

Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty.

         Sentence will be imposed in accordance with the Court's scheduling order.

         SO   ORDERID.

         Dated Septemb r,   7,{   zozo.



                                             JAME WESLEY HENDRIX
                                             UN   D STATES DISTRICT JUDGE
